UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
: CONSENT PRELIMINARY ORDER
-Vv.- OF FORFEITURE/
: MONEY JUDGMENT
DANIEL RESNICK,
22 Cr. 682 (CS)
Defendant.
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WHEREAS, on or about December 14, 2022, DANIEL RESNICK (the
“Defendant”), was charged in a one-count Information, 22 Cr. 682 (CS) (the “Information”), with
operation of an unlicensed money transmitting business, in violation of Title 18, United States
Code, Section 1960 (Count One);

WHEREAS, the Information included a forfeiture allegation as to Count One of the
Information, seeking forfeiture to the United States, pursuant to Title 18, United States Code,
Section 982(a)(1), of any and all property, real and personal, involved in the offense charged in
Count One of the Information, or any property traceable to such property, including but not limited
to asum of money in United States currency representing the amount of property involved in the
offense charged in Count One of the Information;

WHEREAS, the Defendant personally posted $100,000 cash bail (the “Bail
Funds”) toward a court-ordered personal recognizance bond, and the Bail Funds remain on deposit

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with the Clerk of Court (receipt number );

WHEREAS, on or about Fi ebii uay LU?) , 2023, the Defendant pled guilty to

Count One of the Information, pursuant to a plea agreement with the Government, wherein the
Defendant admitted the forfeiture allegation with respect to Count One of the Information and

agreed to forfeit to the United States, pursuant to Title 18, United States Code, Section 982(a)(1),

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a sum of money equal to $310,800 in United States currency, representing property involved in
the offense alleged in Count One of the Information;

WHEREAS, the Defendant consents to the entry of a money judgment in the
amount of $310,800 in United States currency, representing the amount of property involved in
the offense charged in Count One of the Information; and

WHEREAS, the Defendant admits that, as a result of acts and/or omissions of the
Defendant, the property involved in the offense charged in Count One of the Information cannot
be located upon the exercise of due diligence; and

WHEREAS, the Defendant agrees that the Bail Funds shall be applied toward the
payment of the Defendant’s Money Judgment.

IT IS HEREBY STIPULATED AND AGREED, by and between the United States
of America, by its attorney Damian Williams, United States Attorney, Assistant United States
Attorney Derek Wikstrom, of counsel, and the Defendant and his counsel, Kerry Lawrence, Esq.,
that:

1, As aresult of the offense charged in Count One of the Information, to which
the Defendant pled guilty, a money judgment in the amount of $310,800 in United States currency
(the “Money Judgment”), representing the amount of property involved in the offense charged in
Count One of the Information, shall be entered against the Defendant.

2, Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this
Consent Preliminary Order of Forfeiture/Money Judgment is finai as to the Defendant DANIEL
RESNICK, and shall be deemed part of the sentence of the Defendant, and shall be included in the

judgment of conviction therewith.

 
3. In satisfaction of the Money Judgment, the Defendant shall make a payment
in the amount of $210,800 in United States currency (the “Payment’’) on or before the date of his
sentencing.

4, The Payment shall be made by wire transfer to the United States Marshals
Service pursuant to the wire instructions to be provided to the Defendant by the Government.

5, The United States Marshals Service is authorized to deposit the Payment
into the Assets Forfeiture Fund, and the United States shall have clear title to such forfeited
property.

6. Upon sentencing by the Court, in accordance with Title 28, United States
Code, Section 2044, the Clerk of the Court shall pay the Bail Funds, less the Clerk’s fees, if any,
to the United States in the form of a check payable to the United States Marshals Service which
shall reference the Defendant’s name and case number, and be delivered to the United States
Attorney’s Office, One St. Andrew’s Plaza, New York, NY, Attn: Money Laundering and
Transnational Criminal Enterprises Unit.

7. Pursuant to Title 21, United States Code, Section 853, the United States
Marshals Service shall be authorized to deposit the Bail Funds, as a payment on the Money
Judgment, into the Assets Forfeiture Fund, and the United States shall have clear title to such
forfeited property.

8. Pursuant to Title 21, United States Code, Section 853(p), the United States
is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount
of the Money Judgment.

9, Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the

United States Attorney’s Office is authorized to conduct any discovery needed to identify, locate

 
or dispose of forfeitable property, including depositions, interrogatories, requests for production
of documents and the issuance of subpoenas.

10. The Court shall retain jurisdiction to enforce this Consent Preliminary Order
of Forfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule 32.2 of the Federal
Rules of Criminal Procedure.

11. The signature page of this Consent Preliminary Order of Forfeiture/Money
Judgment may be executed in one or more counterparts, each of which will be deemed an original
but all of which together will constitute one and the same instrument.

AGREED AND CONSENTED TO:
DAMIAN WILLIAMS

United States Attorney for the
Southern District of New York

 

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°y DEREK WIKSTROM DATE

Assistant United States Attorney
One St. Andrew’s Plaza

New York, NY 10007

(212) 637-1085

 

 

DANIEL RESNICK
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~~ DANIEL RESNICK DATE
By: (Lely Lua / Y Y (12
KERRY LAWRENCE, ESQ. DATE

Attorney for Defendant
140 Grand Street, Suite 705
White Plains, NY 10601

SO ORDERED:

 

(Nehazple-be§ 127/24
HONORABLE CATHY SEIBEL DATE

UNITED STATES DISTRICT JUDGE
